                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
 

    CHRISTOPHER MACHADO, Individually       Case No.
    and on Behalf of All Others Similarly
    Situated,
                                            CLASS ACTION COMPLAINT FOR
                             Plaintiff,     VIOLATIONS OF THE FEDERAL
                                            SECURITIES LAWS
                v.
                                            JURY TRIAL DEMANDED
    ENDURANCE INTERNATIONAL
    GROUP HOLDINGS, INC., HARI
    RAVICHANDRAN, and TIVANKA
    ELLAWALA,

                             Defendants.
       Plaintiff Christopher Machado (“Plaintiff”), by and through his attorneys, alleges the

following upon information and belief, except as to those allegations concerning Plaintiff, which

are alleged upon personal knowledge. Plaintiff’s information and belief is based upon, among

other things, his counsel’s investigation, which includes without limitation: (a) review and

analysis of regulatory filings made by Endurance International Group Holdings, Inc.

(“Endurance” or the “Company”), with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by Endurance; and (c) review of other publicly available information concerning

Endurance.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of purchasers of Endurance securities between

November 4, 2014 and April 27, 2015, inclusive (the “Class Period”), seeking to pursue

remedies under the Securities Exchange Act of 1934 (the “Exchange Act”).

       2.      Endurance provides cloud-based platform solutions for small and medium-sized

businesses (“SMBs”). According to the Company, it has approximately 4.1 million subscribers

globally with over 150 products and services including domains, website builders, web hosting,

email, security, storage, site backup, search engine optimization, search engine marketing, social

media services, website analytics, mobile device tools and productivity and e-commerce

solutions.

       3.      On April 28, 2015, research firm Gotham City Research LLC published a report

alleging, among other things, that 40% to 100% of Endurance’s reported profits were suspect and

the Company’s normalized profits would be insufficient to cover its interest expenses. The

report alleged that the Company uses related parties to inflate earnings, and that transactions with




                                                 1
related entities have accounted for at least 16.5% of the Company’s 2012-2014 Earnings Before

Interest, Taxes, Depreciation and Amortization (“EBITDA”). The report also alleged that the

Company’s reported organic growth was overstated and that 2014 Average Revenue per

Subscriber (“ARPS”) had actually declined 13% when the Company’s 10-K claimed that ARPS

had grown 11%. Additionally, the report alleged various accounting irregularities relating to the

Company’s international business, including that 30-67% of revenues reported for Directi (a

domain name registrar in India that the Company acquired in early 2014) in its filings in India

could not be reconciled with Endurance’s 10-K.

       4.     On this news, shares of Endurance declined $2.24 per share, over 10%, to close

on April 28, 2015, at $19.70 per share, on unusually heavy volume.

       5.     Throughout the Class Period, Defendants made false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants made false and/or misleading statements

and/or failed to disclose: (1) that the Company overstated its ARPS and organic growth rate; (2)

that the Company engaged in irregular accounting practices related to its international business;

and (3) that, as a result of the foregoing, Defendants’ statements about Endurance’s business,

operations, and prospects, were false and misleading and/or lacked a reasonable basis.

       6.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                               JURISDICTION AND VENUE

       7.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17




                                                 2
C.F.R. § 240.10b-5).

       8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       9.      Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b) and

Section 27 of the Exchange Act (15 U.S.C. §78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the preparation and dissemination of materially false and/or misleading

information, occurred in substantial part in this Judicial District. Additionally, Endurance’s

principal executive offices are located within this Judicial District.

       10.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

       11.     Plaintiff Christopher Machado, as set forth in the accompanying certification,

incorporated by reference herein, purchased Endurance common stock during the Class Period,

and suffered damages as a result of the federal securities law violations and false and/or

misleading statements and/or material omissions alleged herein.

       12.     Defendant Endurance is a Delaware corporation with its principal executive

offices located at 10 Corporate Drive, Suite 300, Burlington, Massachusetts 01803.

       13.     Defendant Hari Ravichandran (“Ravichandran”) was, at all relevant times, Chief

Executive Officer (“CEO”) and a director of Endurance.




                                                  3
       14.     Defendant Tivanka Ellawala (“Ellawala”) was, at all relevant times, Chief

Financial Officer (“CFO”) of Endurance.

       15.     Defendants Ravichandran and Ellawala are collectively referred to hereinafter as

the “Individual Defendants.” The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Endurance’s reports to

the SEC, press releases and presentations to securities analysts, money and portfolio managers

and institutional investors, i.e., the market. Each defendant was provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,

their issuance and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of their positions and access to material non-public information available to

them, each of these defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive representations

which were being made were then materially false and/or misleading.               The Individual

Defendants are liable for the false statements pleaded herein, as those statements were each

“group-published” information, the result of the collective actions of the Individual Defendants.

                              SUBSTANTIVE ALLEGATIONS
                                          Background
        
       16.     Endurance provides cloud-based platform solutions for SMBs worldwide.

According to the Company, it has approximately 4.1 million subscribers with over 150 products

and services including domains, website builders, web hosting, email, security, storage, site

backup, search engine optimization, search engine marketing, social media services, website

analytics, mobile device tools and productivity and e-commerce solutions.




                                                4
                                Materially False and Misleading
                           Statements Issued During the Class Period

       17.       The Class Period begins on November 4, 2014. On this day, Endurance issued a

press release entitled, “Endurance International Group Reports 2014 Third Quarter Results.”

Therein, the Company, in relevant part, stated:

       Endurance International Group Holdings, Inc. (Nasdaq:EIGI), a leading provider
       of cloud-based platform solutions designed to help small and medium-sized
       businesses succeed online, today reported financial results for its third quarter
       ended September 30, 2014.

       “We are pleased to report a quarter that exceeded expectations for revenue,
       adjusted EBITDA and unlevered free cash flow,” commented Hari Ravichandran,
       chief executive officer and founder of Endurance International Group. “During
       the quarter our paying subscribers increased by 94,000, or 12 percent over the
       third quarter of 2013, to more than 3.8 million total paying subscribers, and our
       average revenue per subscriber increased by 10 percent over the third quarter of
       2013 to $14.49. We believe our results are a reflection of the effectiveness of our
       marketing and distribution platforms, which we expect will continue to propel our
       growth drivers and provide a solid basis for a sustainable, strong top line which
       will in turn drive healthy cash flows for the future.”

       Third Quarter Financial Highlights




                GAAP revenue was $160.2 million, an increase of approximately 21
                 percent compared to $132.9 million in the third quarter of 2013.
                Net loss attributable to Endurance International Group Holdings, Inc. was
                 $7.9 million, or $(0.06) per diluted share, compared to a net loss of $27.0
                 million, or $(0.28) per diluted share, for the third quarter of 2013.
                Adjusted revenue was $164.9 million, an increase of approximately 23
                 percent compared to $134.2 million in the third quarter of 2013.
                Adjusted revenue, excluding the impact of Directi, which contributed
                 $13.0 million to adjusted revenue for the quarter, was $152.0 million, an
                 increase of over 13 percent over the third quarter of 2013.
                Adjusted EBITDA was $58.0 million, an increase of over 16 percent
                 compared to $49.9 million in the third quarter of 2013.



                                                  5
               Unlevered free cash flow (UFCF) was $50.1 million, an increase of
                approximately 17 percent compared to $43.0 million in the same period a
                year ago.
               Free cash flow (FCF) was $35.8 million, an increase of over 72 percent
                compared to $20.8 million in the third quarter of 2013.

      Third Quarter Operating Highlights

               Total paying subscribers increased by 94,000 in Q3 2014. Excluding the
                impact of Directi, total paying subscribers increased by 93,000.
               Total paying subscribers were approximately 3.841 million at the end of
                Q3 2014, an increase of 12 percent compared to approximately 3.440
                million at the end of Q3 2013.
               Average revenue per subscriber (ARPS) was $14.49, an increase of 10
                percent compared to $13.14 for Q3 2013. Excluding the impact of Directi,
                ARPS was $13.54, an increase of 3 percent compared to $13.14 for Q3
                2013 and an increase of $0.19 over Q2 2014.
               During the quarter, the company acquired Webzai, Ltd. and the assets of
                BuyDomains. In addition, on October 31, 2014, the company acquired the
                assets of Arvixe, LLC. The total consideration for these acquisitions is
                expected to be approximately $77 million.

      Fiscal Year 2014 Guidance

      The company is providing the following guidance:

      Full year 2014 ending December 31, 2014




      18.       On November 7, 2014, Endurance filed its Quarterly Report with the SEC on

Form 10-Q for the 2014 fiscal third quarter.       The Company’s Form 10-Q was signed by

Defendant Ellawala, and reaffirmed the Company’s statements previously announced on

November 4, 2014.


                                               6
       19.       On February 23, 2015, Endurance issued a press release entitled, “Endurance

International Group Reports 2014 Fourth Quarter and Full Year Results.”               Therein, the

Company, in relevant part, stated:

       Endurance International Group Holdings, Inc. (Nasdaq:EIGI), a leading provider
       of cloud-based platform solutions designed to help small and medium-sized
       businesses succeed online, today reported financial results for its fourth quarter
       and fiscal year ended December 31, 2014.

       “We are excited to have finished our fiscal 2014 with results that exceeded
       expectations. Our results reinforce our confidence in our two-pronged strategy to
       increase our subscriber base and grow average revenue per subscriber, which
       positions us well to capture more of what we believe is a large opportunity,”
       commented Hari Ravichandran, chief executive officer and founder of Endurance
       International Group. “We ended the fiscal year with a milestone 4.1 million
       subscribers, an increase of 17 percent over the end of 2013, and continued to see
       an increase in average revenue per subscriber, to $14.48, or 11 percent growth
       over last fiscal year.”

       Below is a summary of our fiscal 2014 results and guidance for fiscal 2015.

       Full Year & Fourth Quarter Financial Highlights




                For the fiscal year 2014, GAAP revenue was $629.8 million, an increase
                 of 21 percent compared to $520.3 million in fiscal 2013. GAAP revenue
                 for the fourth quarter was $171.9 million, an increase of 26 percent
                 compared to $136.4 million in the fourth quarter of 2013.
                For the fiscal year 2014, net loss attributable to Endurance International
                 Group Holdings, Inc. was $42.8 million, or $(0.34) per diluted share
                 compared to a net loss of $159.2 million, or $(1.55) per diluted share, for
                 fiscal 2013. Net loss attributable to Endurance International Group
                 Holdings, Inc. for the fourth quarter was $2.2 million, or $(0.02) per
                 diluted share, compared to a net loss of $67.5 million, or $(0.57) per
                 diluted share, for the fourth quarter of 2013.


                                                  7
      Adjusted revenue for the fiscal year 2014 was $651.9 million, an increase
       of 23 percent compared to $528.1 million in fiscal year 2013. Adjusted
       revenue for the fourth quarter was $175.2 million, an increase of 28
       percent compared to $136.9 million in the fourth quarter of 2013.
      Adjusted revenue for the fiscal year 2014 excluding the impact of Directi,
       which contributed $48.5 million of adjusted revenue for the fiscal year,
       was $603.4 million, an increase of 14 percent over fiscal year 2013.
       Adjusted revenue excluding the impact of Directi, which contributed
       $13.2 million of adjusted revenue for the quarter, was $162.0 million, an
       increase of 18 percent over the fourth quarter of 2013.
      Adjusted EBITDA for the fiscal year 2014 was $235.6 million, an increase
       of 13 percent compared to $207.9 million in fiscal 2013. Adjusted
       EBITDA for the fourth quarter was $62.0 million, an increase of 34
       percent compared to $46.2 million in the fourth quarter of 2013.
      Unlevered free cash flow (“UFCF”) for the fiscal year 2014 was $193.4
       million, an increase of 16 percent compared to $166.5 million in fiscal
       2013. UFCF for the fourth quarter was $50.7 million, an increase of 35
       percent compared to $37.5 million in the same period a year ago.
      Free cash flow (“FCF”) for the fiscal year was $136.6 million, an increase
       of 64 percent compared to $83.4 million in fiscal 2013. FCF for the fourth
       quarter was $35.8 million, an increase of 90 percent compared to $18.9
       million in the fourth quarter of 2013.

Full Year & Fourth Quarter Operating Highlights

      Total subscribers increased by over 380,000 in fiscal 2014. Excluding the
       impact of Directi, total subscribers increased by 374,000 in fiscal 2014.
       Total subscribers increased by 91,000 for the fourth quarter. Excluding the
       impact of Directi, total subscribers increased by 88,000 in the fourth
       quarter.
      Total subscribers were 4.087 million at the end of the fiscal year 2014, an
       increase of 17 percent compared to 3.502 million at the end of fiscal year
       2013. The subscriber base increase consisted of the over 380,000
       subscriber net adds, which were added through normal business
       operations, and approximately 200,000 subscribers on-boarded via
       acquisitions.
      For the year, average revenue per subscriber (“ARPS”) was $14.48, an
       increase of 11 percent compared to $13.09 in fiscal 2013. Excluding the
       impact of Directi, ARPS was $13.58, an increase of 4 percent compared to
       $13.09 in fiscal 2013. ARPS was $14.78 for the fourth quarter, an increase
       of 12 percent compared to $13.15 for fourth quarter 2013. Excluding the
       impact of Directi, ARPS was $13.86, an increase of 5 percent compared to
       $13.15 for fourth quarter 2013.
      On December 31, 2014, the company made an equity investment of $15.2
       million, representing an ownership position of 40 percent in AppMachine
       BV, a Dutch developer of mobile applications.


                                        8
       Fiscal Year 2015 and First Quarter 2015 Guidance (at February 23, 2015)

       The company is providing the following guidance:

       For the full year 2015 ending December 31, 2015, the company expects:




       For the first quarter ending March 31, 2015, the company expects:




       The company’s first quarter 2015 guidance for adjusted EBITDA growth reflects
       the seasonally strong investment in marketing relative to subsequent quarters of
       the fiscal year. Additionally, the company will be providing UFCF guidance on
       an annual basis only.

       20.     On February 27, 2015, Endurance filed its Annual Report with the SEC on Form

10-K for the 2014 fiscal year.        The Company’s Form 10-K was signed by Defendants

Ravichandran and Ellawala, and reaffirmed the Company’s statements previously announced on

February 23, 2014.

       21.     The statements contained in ¶¶17-20 were materially false and/or misleading

when made because defendants failed to disclose or indicate the following: (1) that the Company

overstated its ARPS and organic growth rate; (2) that the Company engaged in irregular

accounting practices related to its international business; and (3) that, as a result of the foregoing,


                                                  9
Defendants’ statements about Endurance’s business, operations, and prospects, were false and

misleading and/or lacked a reasonable basis.

                            Disclosures at the End of the Class Period

       22.       On April 28, 2015, research firm Gotham City Research LLC published a report

entitled, “Endurance International Group: a Web of Deceit.” Therein, the report, in relevant

summary, stated:

       GOTHAM CITY RESEARCH’S OPINIONS

                EIGI shares will go to $0.00 per share, as the company will struggle to
                 service its debt. Normalized EBITDA margins do not cover interest
                 expense.
                Recent years’ reported EBITDA benefited from attracting Blinkx-like
                 revenue (spam/malware, terrorism, etc.).
                EIG profits at the expense of its customers (service outages, poor customer
                 service, etc.).

       SUMMARY OF FINDINGS

                40%-100%+ of EIGI’s reported profits are suspect.
                2014 Average Revenue per Subscriber (ARPS) actually declined -13%.
                 EIGI’s 10K claims ARPS grew +11%.
                Organic growth overstated ~3x. We calculate organic growth to be ~5.6%,
                 not 13.0%-15.0% as EIG claims.
                Directi’s revenues per the Indian filings are 30%-67% lower than reported
                 in EIGI’s 10K.
                Directi revenue figures within the EIGI 10K do not add up.
                EIGI paid 17% of its ‘12-’14 EBITDA to a related party tied to the CEO.
                 The related party seems to be Endurance.
                No international revenue disclosures, despite promoting itself as an
                 ‘international growth’ concern.
                An undisclosed subsidiary falsely claimed to the US Government that the
                 FBI “recommended” them.
                EIGI’s BlueHost, JustHost, HostGator and HostMonster hosted terrorist
                 websites as recently as few weeks ago.
                EIGI domains hosted 1,000s of spam/malware-related sites per
                 spam/malware watchdogs (the hosting world’s Blinkx).
                EIGI spends ~1/6th on core infrastructure vs Godaddy.
                Customer reviews are consistently poor.




                                                 10
                A 15+ year industry executive states EIGI uses a churn model/definition
                 that is “not industry common practice, while using industry terminology.”
                EIGI is free cash flow negative. Godaddy is FCF positive.
                The management team (including the CEO) recently sold ~30% of their
                 stake in EIGI.

                                         *       *      *

       Gotham City Research believes 40%-100%+ of reported profits are suspect, and
       that normalized profits do not cover interest expense for the following reasons:

                Related party transactions account for 17% of EBITDA, and resemble
                 transactions with it-self.
                ARPU declined-13% yet EIGI’s 10K claims ARPU grew +11%.
                Accounting irregularities found with its International business.
                A significant undisclosed subsidiary lied to the US government about its
                 credentials.
                The company hosts terrorist-related websites, and a high % of
                 malware/spam-related accounts.
                Churn is high as a result of service outages, poor customer support, and
                 slow loading speeds. EIGI claims otherwise, yet EIGI has under-invested
                 in its business, spending 80% less on infrastructure vs. Godaddy.

       23.       On April 28, 2015, Endurance issued a press release entitled, “Statement From

Endurance International Group.” Therein, the Company, in relevant part, stated:

       Endurance International Group (NASDAQ: EIGI) today released the following
       statement in response to a report released by Gotham City Research:

       “The claims in this ‘report’ are baseless and not rooted in reality. The reality is,
       since going public, Endurance has beat expectations every quarter, showing
       consistent growth throughout the company. Endurance senior executives still own
       a significant stake in the company and are deeply invested in its future success.
       To suggest otherwise, is ridiculous.

       “Endurance is transparent in how it calculates all of its metrics including its
       average revenue per subscriber, subscriber counts, organic growth and monthly
       revenue retention. The company has always been clear in its financial disclosures
       and reports on its financial health and growth. KPMG serves as Endurance’s
       internal auditor including auditing Sarbanes-Oxley controls. BDO serves as the
       company’s external auditor.

       “As previously disclosed, the company’s free cash flow for operations in 2014
       was $143 million. Additionally, Warburg Pincus and Goldman Sachs own more



                                                11
       than 40 percent of the company. Endurance has never interacted with Gotham
       City Research or the unnamed analyst who authored this report.”

       24.     On this news, shares of Endurance declined $2.24 per share, over 10%, to close

on April 28, 2015, at $19.70 per share, on unusually heavy volume.

                               CLASS ACTION ALLEGATIONS

       25.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all those who purchased

Endurance’s securities between November 4, 2014 and April 27, 2015, inclusive (the “Class

Period”) and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       26.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Endurance’s securities were actively traded on the

Nasdaq Stock Market (the “NASDAQ”). While the exact number of Class members is unknown

to Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff

believes that there are hundreds or thousands of members in the proposed Class. Millions of

Endurance shares were traded publicly during the Class Period on the NASDAQ.                As of

February 20, 2015, Endurance had 132,358,092 shares of common stock outstanding. Record

owners and other members of the Class may be identified from records maintained by Endurance

or its transfer agent and may be notified of the pendency of this action by mail, using the form of

notice similar to that customarily used in securities class actions.




                                                  12
        27.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        28.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

        29.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Endurance; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        30.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.




                                                   13
                             UNDISCLOSED ADVERSE FACTS

         31.   The market for Endurance’s securities was open, well-developed and efficient at

all relevant times. As a result of these materially false and/or misleading statements, and/or

failures to disclose, Endurance’s securities traded at artificially inflated prices during the Class

Period. Plaintiff and other members of the Class purchased or otherwise acquired Endurance’s

securities relying upon the integrity of the market price of the Company’s securities and market

information relating to Endurance, and have been damaged thereby.

         32.   During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Endurance’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

as set forth herein, not false and/or misleading. Said statements and omissions were materially

false and/or misleading in that they failed to disclose material adverse information and/or

misrepresented the truth about Endurance’s business, operations, and prospects as alleged herein.

         33.   At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Endurance’s financial well-being and prospects. These material

misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period




                                                14
resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein.

                                      LOSS CAUSATION

       34.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       35.     During the Class Period, Plaintiff and the Class purchased Endurance’s securities

at artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                 SCIENTER ALLEGATIONS

       36.     As alleged herein, Defendants acted with scienter in that Defendants knew that

the public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Endurance, his/her control over, and/or

receipt and/or modification of Endurance’s allegedly materially misleading misstatements and/or

their associations with the Company which made them privy to confidential proprietary

information concerning Endurance, participated in the fraudulent scheme alleged herein.




                                                15
                     APPLICABILITY OF PRESUMPTION OF RELIANCE
                         (FRAUD-ON-THE-MARKET DOCTRINE)

       37.     The market for Endurance’s securities was open, well-developed and efficient at

all relevant times. As a result of the materially false and/or misleading statements and/or failures

to disclose, Endurance’s securities traded at artificially inflated prices during the Class Period.

On April 23, 2015, the Company’s stock closed at a Class Period high of $23.03 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

securities relying upon the integrity of the market price of Endurance’s securities and market

information relating to Endurance, and have been damaged thereby.

       38.     During the Class Period, the artificial inflation of Endurance’s stock was caused

by the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Endurance’s business, prospects, and operations. These material

misstatements and/or omissions created an unrealistically positive assessment of Endurance and

its business, operations, and prospects, thus causing the price of the Company’s securities to be

artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

Company stock. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

       39.     At all relevant times, the market for Endurance’s securities was an efficient

market for the following reasons, among others:

               (a)     Endurance stock met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;



                                                 16
               (b)     As a regulated issuer, Endurance filed periodic public reports with the

SEC and/or the NASDAQ;

               (c)     Endurance regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

               (d)     Endurance was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the sales force

and certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

         40.   As a result of the foregoing, the market for Endurance’s securities promptly

digested current information regarding Endurance from all publicly available sources and

reflected such information in Endurance’s stock price. Under these circumstances, all purchasers

of Endurance’s securities during the Class Period suffered similar injury through their purchase

of Endurance’s securities at artificially inflated prices and a presumption of reliance applies.

                                       NO SAFE HARBOR

         41.   The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that




                                                 17
could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Endurance who knew that the statement was false when made.

                                         FIRST CLAIM
                                   Violation of Section 10(b) of
                                The Exchange Act and Rule 10b-5
                          Promulgated Thereunder Against All Defendants

        42.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        43.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Endurance’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, defendants, and each of them,

took the actions set forth herein.

        44.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Endurance’s securities in violation of Section 10(b) of




                                                 18
the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       45.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Endurance’s

financial well-being and prospects, as specified herein.

       46.     These defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of Endurance’s value and

performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about Endurance and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

       47.     Each of the Individual Defendants’ primary liability, and controlling person

liability, arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and




                                                19
familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.

       48.     The defendants had actual knowledge of the misrepresentations and/or omissions

of material facts set forth herein, or acted with reckless disregard for the truth in that they failed

to ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Endurance’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated

by Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       49.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Endurance’s securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public




                                                 20
statements by Defendants during the Class Period, Plaintiff and the other members of the Class

acquired Endurance’s securities during the Class Period at artificially high prices and were

damaged thereby.

        50.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Endurance was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Endurance

securities, or, if they had acquired such securities during the Class Period, they would not have

done so at the artificially inflated prices which they paid.

        51.     By virtue of the foregoing, Defendants have violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.

        52.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

                                     SECOND CLAIM
                                 Violation of Section 20(a) of
                      The Exchange Act Against the Individual Defendants

        53.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        54.     The Individual Defendants acted as controlling persons of Endurance within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions, and their ownership and contractual rights, participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, the Individual Defendants had


                                                  21
the power to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading. The Individual Defendants were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

       55.     In particular, each of these Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, is presumed to have had the power to

control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.

       56.     As set forth above, Endurance and the Individual Defendants each violated

Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in this Complaint. By

virtue of their positions as controlling persons, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful

conduct, Plaintiff and other members of the Class suffered damages in connection with their

purchases of the Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;




                                                22
       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

DATED: May 4, 2015                            BLOCK & LEVITON LLP

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                                                   23
